        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 1 of 37




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BETSY WOLF,                                      :
                                                 :
                    Plaintiff,                   :         CIVIL ACTION
                                                 :
             v.                                  :
                                                 :
TEMPLE UNIVERSITY,                               :         NO. 2:21-cv-00866
                                                 :
                    Defendant.                   :

                                         ORDER

      And now, this ___ day of _____, 2021, upon consideration of the motion of Temple

University for summary judgment, and the plaintiff’s response thereto, it is hereby ORDERED

that the motion is GRANTED.

      Judgment is granted in favor of Temple University.



                                                 BY THE COURT:



                                                 ________________________
                                                 WENDY BEETLESTONE, J.
           Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 2 of 37




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BETSY WOLF,                                              :
                        Plaintiff,                       :       CIVIL ACTION
                                                         :
                v.                                       :
                                                         :
TEMPLE UNIVERSITY,                                       :       NO. 2:21-cv-00866
               Defendant.                                :

            TEMPLE UNIVERSITY’S MOTION FOR SUMMARY JUDGMENT

        For the reasons set forth below and in the accompanying memorandum of law, Temple

University, whose proper corporate name is Temple University–Of The Commonwealth System

of Higher Education (Temple), moves for summary judgment on all of Plaintiff Betsy Wolf’s

claims.1

        Plaintiff, whom Temple laid off for budgetary reasons in June 2018 from her position as a

Senior Administrator within the Temple University Physicians (TUP),2 claims that her layoff and

Temple’s failure to rehire her resulted from one or both of the following unlawful reasons: (a)

retaliation for her complaints about what she perceived as Temple’s failure to sufficiently address

an incident of anti-Semitism in which someone scrawled a swastika on the wall outside her office

in November 2017 (the “swastika incident”); or (b) age discrimination.



1
        Plaintiff’s complaint alleges claims of discrimination and retaliation under Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. §2000 (Count I); the Age Discrimination in Employment Act,
as amended, 29 U.S.C. § 623 et seq. (ADEA) (Count II); the Pennsylvania Human Relations Act, as
amended, 43 P.S. §951, et seq. (“PHRA”) (Count III); and the Philadelphia Fair Practices Ordinance, as
amended, Phila. Code § 9-1100, et seq. (Count IV).
2
       During Plaintiff’s employment at Temple and at the time of her layoff, she worked for Temple
University Physicians (TUP), the entity within Temple University’s Lewis Katz School of Medicine
through which the Medical School’s physician faculty members practiced medicine. On July 1, 2019,
Temple Faculty Physicians (TFP), a new practice plan entity, was established under the Temple University
Health System (TUHS). On January 1, 2021, the non-faculty staff of TUP transitioned from Temple
University to TFP/TUHS.
          Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 3 of 37




        At the end of discovery, in which Plaintiff deposed seven current and former high-level

physicians and administrators from Temple’s School of Medicine, and in which Temple supplied

more than 4,200 pages of documents in response to Plaintiff’s requests, Temple moves for

summary judgment because there is no evidence whatsoever that Plaintiff’s layoff or non-rehire

resulted from unlawful discrimination or retaliation, whether related to the swastika incident or to

Plaintiff’s age.

        To the contrary, the evidence garnered from all sources supports the simple and

straightforward explanation that Temple provided to Plaintiff at the time of her layoff and since,

namely that budgetary reasons led to the decision to lay her off in 2018. The evidence further

establishes that Temple did not interview or hire any external candidates for the job postings for

which Plaintiff applied after her layoff, and that it withdrew each of those job postings for reasons

that had nothing to do with Plaintiff.

        For all these reasons, and those set forth in the accompanying statement of undisputed facts

and memorandum of law, no reasonable jury could find in Plaintiff’s favor on her claims of

discrimination or retaliation under any of the statutes cited in the complaint, and therefore the

Court should grant Temple’s motion for summary judgment on all counts.

                                              RESPECTFULLY SUBMITTED,


Dated: November 19, 2021                      /s/ Michael E. Sacks
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                                                 2
      Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 4 of 37




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BETSY WOLF,                             :
                                        :
                Plaintiff,              :      CIVIL ACTION
                                        :
          v.                            :
                                        :
TEMPLE UNIVERSITY,                      :      NO. 2:21-cv-00866
                                        :
                Defendant.              :


             TEMPLE UNIVERSITY’S MEMORANDUM OF LAW
         IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT




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       Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 5 of 37




                                  TABLE OF CONTENTS

                                                                                PAGE

I.     Introduction                                                              1

II.    There is no evidence to support Plaintiff’s claims of discrimination      4
       or retaliation.

       A.     Overview of Plaintiff’s work history                               4

       B.     TUP faced chronic budget shortfalls, and took steps each           5
              year to increase efficiencies and cut costs

       C.     The reasons provided to Plaintiff for her layoff were real,        10
              and not a pretext for age discrimination.

       D.     Temple did not discriminate or retaliate against Plaintiff         13
              because of her complaints about Temple’s response to the
              2017 “swastika incident.”

       E.     Mr. Kupp’s questions about Plaintiff’s future plans, or            15
              retirement plans, do not support an inference of age
              discrimination

       F.     The evidence is undisputed that Temple withdrew each of            17
              the job postings to which Plaintiff applied in Fall 2018 and
              Fall 2019 for reasons unrelated to Plaintiff

III.   Argument                                                                  18

       A.     The Summary Judgment Standard                                      18

       B.     The Court should grant summary judgment on Plaintiff’s             22
              retaliation claim because there is no evidence in the record
              from which a reasonable jury could find a causal connection
              between her complaints about Temple’s response to the
              swastika incident and her layoff approximately five months
              later

       C.     The Court should grant summary judgment on Plaintiff’s             24
              age discrimination claim because Plaintiff cannot point to
              evidence that would lead a jury to disbelieve Temple’s stated
              reasons for Plaintiff’s layoff, or find that discrimination was
              more likely than not a determinative cause of the layoff
      Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 6 of 37




      D.    There is no evidence that Temple did not re-hire Plaintiff for   28
            discriminatory reasons

IV.   Conclusion                                                             28




                                             ii
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 7 of 37




                                TABLE OF AUTHORITIES

                                                                         PAGE

Fichter v. AMG Resources Corp., 528 Fed. Appx. 225 (3d Cir. 2013)          25

Fogleman v. Mercy Hosp., Inc., 283 F.3d 561 (3d Cir. 2002)                  3

Fuentes v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994)                        24

Jones v. Sch. Dist. of Philadelphia, 198 F.3d 403 (3d Cir. 1999)            3

Kautz v. Met-Pro Corp., 412 F.3d 463 (3d Cir. 2005)                        25

Ngai v. Urban Outfitters, 2021 WL 1175155 (E.D.Pa. 2021)            3, 18, 19, 20, 21,
                                                                            22




                                              iii
          Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 8 of 37




                  TEMPLE UNIVERSITY’S MEMORANDUM OF LAW
              IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

        Temple University1 (Temple), submits this memorandum of law in support of its Motion

for Summary Judgment.

I.      Introduction

        In June 2018, Temple laid off Plaintiff Betsy Wolf from her position as a Senior

Administrator in Temple’s School of Medicine for budgetary reasons. In the fall of 2018 and again

in 2019, Plaintiff applied for posted positions at Temple similar to the position she had before her

layoff, but Temple withdrew the postings for reasons unrelated to Plaintiff and neither interviewed

nor hired anyone for those positions.

        In her lawsuit, Plaintiff claims that Temple’s stated reasons for her layoff and non-rehire

were pretextual, and that Temple actually laid her off and failed to rehire her because of

discrimination or retaliation related to her complaints about Temple’s response to a 2017 anti-

Semitic incident, or because of age discrimination, or both. There is not a scintilla of evidence

supporting Plaintiff’s claims of discrimination or retaliation, or to cast doubt on Temple’s

articulated reasons for Plaintiff’s layoff.

        Plaintiff worked for the faculty practice plan at Temple University’s School of Medicine

(SOM), the entity through which the physician faculty members of the SOM treat patients and bill

for services. The practice plan, called Temple University Physicians (TUP), was2 a 300 million a




1
         Temple University’s proper corporate name is Temple University-Of the Commonwealth System
of Higher Education.
2
         On July 1, 2019, Temple Faculty Physicians (TFP), a new practice plan entity, was established
under the Temple University Health System (TUHS). On January 1, 2021, the non-faculty staff of TUP
transitioned from Temple University to TFP/TUHS. (Jt. Appx. 769, Fino depo. p. 34-35)
          Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 9 of 37




year enterprise that faced chronic financial and budget issues in large part due to the combination

of its patient population and stagnant Medicaid reimbursement rates.

        Thomas Kupp, the Senior Vice Dean for Finance and Administration and Executive

Director of the TUP at the SOM, along with Lisa Fino, the TUP’s Chief Operating Officer and

Greg Zimmaro, the Assistant Dean for Human Resources, acted as the TUP’s senior administrative

leadership group. Mr. Kupp, Ms. Fino and Mr. Zimmaro, all in their 60’s and all of whom have

worked at Temple for many years,3 met together weekly to keep the TUP on course and on budget,

finding ways to centralize administrative functions, create shared services, outsource and, sadly,

lay off staff as a last resort.

        Plaintiff aggressively pursued discovery through interrogatories, four separate sets of

document requests that resulted in Temple producing more than 4,200 pages of documents, and

depositions of seven current and former high-ranking employees of Temple’s School of Medicine.

With regard to Plaintiff’s claim of retaliation for complaining to the Dean of the School of

Medicine and to Temple’s President about what she believed was Temple’s inadequate response

to someone scrawling a swastika on the wall outside her office in 2017, there is no evidence that

anyone – the Dean, the President, or any of the individuals involved in the decision to lay her off

approximately five months after her complaints – were upset, angry, frustrated or otherwise

unhappy about Plaintiff’s complaints.

        With regard to Plaintiff’s claim of age discrimination, it is uncontroverted that the TUP

faced chronic annual budget shortfalls, that TUP leadership made cutbacks and imposed staff

layoffs each year, and that Plaintiff herself participated in such layoffs in her role as a Senior



3
         Mr. Kupp, Ms. Fino and Mr. Zimmaro each gave their date of birth and their start dates at Temple
in their depositions. They have worked at Temple for 18, 12 and 26 years respectively. (Jt. Appx. 462, 516,
Zimmaro depo. p. 7, 222; Jt. Appx. 84, Kupp depo. p. 7-8; Jt. Appx. 762, Fino depo. p. 7)


                                                    2
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 10 of 37




Administrator. No evidence contradicts Temple’s position that Plaintiff’s layoff was part of that

cost-cutting process to meet the budget. All decisionmakers testified that Plaintiff’s age never

came up in any discussions preceding her layoff, nor was it a factor at all.

        Plaintiff tried mightily in discovery to develop circumstantial evidence of age

discrimination by pursuing the assertion in her Complaint that Mr. Kupp asked her about her

retirement plans less than a year before her layoff. What emerged, however, was that Mr. Kupp

talked to all of the individuals at Plaintiff’s level about their future plans for purposes of succession

planning, simply as a matter of good business practice. (Jt. Appx. 111, Kupp depo., p. 113p)

Several of Plaintiff’s cohort of departmental administrators – which included at least seven other

people in their sixties like Plaintiff – in fact discussed their plans to retire within the following

several years. As it turned out, some of those highly valued individuals stayed longer than they

initially projected, and no one pressured them to retire before they were ready. (Jt. Appx. 118,

Kupp depo. p. 142-143) There is no evidence that Temple targeted Plaintiff (or anyone else) to

retire, or that Mr. Kupp’s question – whether couched in terms of retirement plans or future plans

– implied a motivation to discriminate on the basis of age.

        In the absence of any evidence to contradict Temple’s stated reasons for laying off Plaintiff

for budgetary reasons, the Court should grant Temple’s Motion for Summary Judgment.4




4
         This motion covers all of Plaintiff’s claims in the complaint, namely Plaintiff’s claims of
discrimination and retaliation under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000
(Count I); the Age Discrimination in Employment Act, as amended, 29 U.S.C. § 623 et seq. (ADEA) (Count
II); the Pennsylvania Human Relations Act, as amended, 43 P.S. §951, et seq. (“PHRA”) (Count III); and
the Philadelphia Fair Practices Ordinance, as amended, Phila. Code § 9-1100, et seq. (“PFPO”) (Count IV).
The standards for assessing discrimination and retaliation under these statutes are similar, so it is
appropriate to consider them together. Ngai v. Urban Outfitters, 2021 WL 1175155, *7 (E.D.Pa. 2021),
citing Fogleman v. Mercy Hosp., Inc., 283 F.3d 561, 567 (3d Cir. 2002) and Jones v. Sch. Dist. of
Philadelphia, 198 F.3d 403, 409 (3d Cir. 1999).


                                                    3
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 11 of 37




II.    There is no evidence to support Plaintiff’s claims of discrimination or retaliation.

       A.      Overview of Plaintiff’s work history.

       Temple hired Plaintiff Betsy Wolf on March 1, 2005, as an “Administrator II” within the

Department of Medicine at Temple’s School of Medicine. (Temple-BW-Jt. Appx. 963) Between

2005 and early 2016, plaintiff served as a “Section Administrator” within the Department of

Medicine, part of the Temple University Physicians.

       In early 2016, when Plaintiff was 65-years of age, Temple promoted her to Senior

Administrator of the Department of Family and Community Medicine (Family Medicine). (Jt.

Appx. 966-968) TUP’s senior leadership group, Mr. Kupp, the Senior Vice Dean for Finance and

Administration and Executive Director of the TUP, Lisa Fino, COO, and Greg Zimmaro, the

Assistant Dean for Human Resources, made the decision to promote Plaintiff. (Jt. Appx. 93, Kupp

depo. p. 42-43)

       Family Medicine was one of the two smallest departments in TUP, along with

Dermatology, in terms of number of physician faculty and budget. (See chart, Jt. Appx. 1027; Jt.

Appx. 68, Wolf depo. p. 52-53) When the leadership team promoted Plaintiff to Senior

Administrator of Family Medicine, their plan was to eventually assign her to a larger department

or have her take on at least one additional department. (Jt. Appx. 94-95, Kupp depo. p. 46, 49-50)

Consistent with this plan, in February 2018, Ms. Fino talked to Plaintiff about assuming the role

of Administrator for the Dermatology Department in addition to Family Medicine. It is undisputed




                                                4
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 12 of 37




that Plaintiff balked at the prospect of doing so. (Jt. Appx. 800, Fino. depo. p. 159; Jt. Appx. 502,

Zimmaro depo. p. 166-168; Jt. Appx. 67, Wolf depo. p. 48-49).5

        B.      TUP faced chronic budget shortfalls, and took steps each year to increase
                efficiencies and cut costs.

        TUP experienced chronic budget shortfalls, particularly from 2010 onward. (Jt. Appx. 91,

Kupp depo. p. 34-36) Each year, Mr. Kupp, along with COO Lisa Fino, worked with the clinical

(physician) chairpersons and administrators of the departments to find cost savings and operational

efficiencies to meet the overall TUP budget and the budget of each clinical department. (Jt. Appx.

782, Fino depo. p. 87) Layoffs were an option of last resort (Jt. Appx. 463, Zimmaro depo. p. 12),

but Temple laid off staff as necessary.6 Mr. Kupp, Ms. Fino and Mr. Zimmaro met together weekly

to review staffing and other issues related to the administration of the TUP. (Jt. Appx. 472,

Zimmaro depo. P. 47) Mr. Kupp explained that the chronic budget shortfall resulted from a

combination of the patient population that the TUP served and the reimbursement system:

        … The basic issue is, and really the ongoing annual issue is that payers, particularly
        our payer mix, Medicaid primarily, rarely has an increase in rates. And actually
        many of our payers on the Medicaid side have had frozen rates for the last probably
        15-plus years, and they are the majority of our payers or patients.

               As a result, our average revenue increase is about one percent or has been
        on average per year, when our expenses go up on average three to four percent. So
        we have a built-in delta every year, and for the most part we are looking at cuts and
        ways to streamline and improve our business functions to make up for that three


5
         As noted in Temple’s Statement of Undisputed Facts, Ms. Fino testified that she offered Plaintiff
the opportunity to take on the role of Administrator for Dermatology and that Plaintiff declined the offer.
Plaintiff testified that in her view the conversation was of a more preliminary nature, but admits that she
was “resistant” to the idea. Temple submits that for purposes of this Motion, it does not matter whether
there was an actual offer or a more preliminary discussion because in either scenario, Plaintiff was at a
minimum “resistant” to taking on more responsibility, and such resistance informed Mr. Kupp’s later
thinking about Plaintiff’s position.
6
         See, e.g, the series of layoff letters from September 2017 (Jt. Appx. 1044-1065) and June 2018 (Jt.
Appx. 1029-1041). Lisa Fino testified that she was involved in layoffs since she first came to Temple in
2009. (Jt. Appx. 782, Fino depo. p. 86-87)



                                                     5
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 13 of 37




       percent delta, which on 150 million -- or actually on a $300 million expense base,
       three percent is about $9 million of potential cuts that have to be made each year.

(Jt. Appx. 91, Kupp depo, p. 35)

       Plaintiff, like other departmental administrators, participated in layoffs of staff. See

November 19, 2016, layoff letter addressed to Jessica Marrero (Jt. Appx. 1042), and September 9,

2017, layoff letter addressed to Michelle Johnson (Jt. Appx. 1062), both of whom worked in the

Family Medicine Department.7 On June 1, 2018, just a week before her own layoff, Plaintiff, along

with then Senior Administrator of the Emergency Department Sharon Mattia, co-signed a layoff

letter to Tracy Barnes, who worked for both departments. (Jt. Appx. 1030)

       Beginning in approximately 2010, TUP leadership focused on outsourcing and centralizing

certain functions to achieve efficiencies, including, among other things, centralizing the “call

center” for patients, the billing and follow up collection functions, physician recruitment,

marketing, and research administration. Such steps were part of a move toward a shared-service

model to streamline work flows in TUP and save money. (Jt. Appx. 88-90, Kupp depo. p. 24-30)

       As the TUP consolidated functions and services, TUP leadership also began implementing,

where feasible, a shared administrator model within the TUP, in which one administrator would

cover more than one department. (Jt. Appx. 90, Kupp depo. p. 29-30) For example, as of June

2018, one administrator handled both Neurosurgery and Neurology; another administrator covered

both Ophthalmology and Urology. (Jt. Appx. 1027) Similarly, before Plaintiff was promoted to

Senior Administrator of Family Medicine, the Senior Administrator of Emergency Medicine had

also covered Family Medicine. (Jt. Appx. 94, Kupp depo. p. 45)

       As part of the gradual implementation of the shared administrator model, in approximately

February 2018, after discussions among Mr. Kupp, COO Lisa Fino and Mr. Zimmaro, Ms. Fino


7
       Ms. Johnson subsequently obtained a position within the Operations department of the TUP.


                                                 6
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 14 of 37




met with Plaintiff to discuss Plaintiff taking on the Administrator role for the Dermatology

Department in addition to Family Medicine. Both departments were small compared with the other

departments, and they already shared the same physical space. (Jt. Appx. 131-132, Kupp depo. p.

196-200; Jt. Appx. 782, Fino depo. p. LF 87-90) At the time, Ms. Fino was handling the

Administrator role for Dermatology in addition to her own job. (Id.)

       According to Ms. Fino, she met with Plaintiff and offered Plaintiff the opportunity to take

on the Administrator role for Dermatology in addition to Family Medicine, and told Plaintiff “it

would behoove” her to say yes and take on the added role. Despite the encouragement, Plaintiff

declined.8 (Jt. Appx. 800, Fino. depo. p. 159; Jt. Appx. 502, Zimmaro depo. p. 166-168) Mr.

Kupp’s understanding from speaking with Ms. Fino was that Plaintiff said that with a new clinical

chair of Family Medicine coming on board shortly, she didn’t think she could handle working for

two departments and two chairs. (Jt. Appx. 137, Kupp depo. p. 220)

       Plaintiff admits having the conversation Ms. Fino described, but her version is different.

She acknowledges that Ms. Fino talked to her about taking on Dermatology in addition to Family

Medicine, and she admits that she was “resistant” to the idea, but she viewed the conversation as

more preliminary in nature and not an actual offer. (Jt. Appx. 67, Wolf depo. p. 48-49) Plaintiff

acknowledged her resistance to taking on two departments as follows:

       Q.      Did you ever have a discussion with Lisa Fino about possibly taking
               administrative duties for more than the family medicine practice,
               specifically for dermatology?

       A.      I had a conversation with her, yes.

       Q.      And why don't you, in your own words, just tell me what that conversation
               was?




8
       See footnote 5 on page 4.


                                                7
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 15 of 37




       A.      She came into my office, sat down next to me, and I can't remember the
               entire conversation we had prior to it, but then she asked me what did I think
               about taking over dermatology.



       Q.      In addition to family medicine; correct?

       A.      Correct.

       Q.      And you were resistant to doing that; correct?

       A.      Yes.

(Jt. Appx. 67, Wolf depo. p. 48-49)

       After Plaintiff declined the offer in February 2018 to take on the Senior Administrator role

for the Dermatology Department (or after she was “resistant” about doing so), Plaintiff continued

as Senior Administrator of the Family Medicine department (Jt. Appx. 802, Fino depo. p. 166).

       In March 2018, Dr. Margot Savoy started as the new clinical chairperson of the Family

Medicine Department. Shortly thereafter, she met with all staff members of the Department in a

kind of “listening tour,” and in that context Plaintiff told Dr. Savoy about the conversation she had

had with Ms. Fino about taking on the Administrator role for Dermatology. According to Dr.

Savoy, Plaintiff said she had told Ms. Fino that she did not feel she could take on the Dermatology

department. (Jt. Appx. 909-910, Savoy depo. 16-17) Dr. Savoy testified that after her conversation

with Plaintiff, she spoke with Ms. Fino and Mr. Kupp, who confirmed that Ms. Fino had had a

conversation with Plaintiff about becoming the shared administrator for Family Medicine and

Dermatology.9 Mr. Kupp explained to Dr. Savoy how sharing an administrator with Dermatology

would work. (Jt. Appx. 910-911, Savoy depo. p. 19-22) Dr. Savoy was not opposed to the idea of

having a shared administrator. (Jt. Appx. 138, Kupp depo. p. 222)


9
        See Joint Appendix 1043, referring to a meeting between Mr. Kupp, Ms. Fino and Dr. Savoy to
discuss the Administrator role for the Family Medicine Department.


                                                 8
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 16 of 37




        Dr. Savoy testified that in May 2018, as a result of meeting(s) with Mr. Kupp, she was

aware that the Family Medicine department was still “pretty far” from being able to meet its

budget, and that the department had to close the budget gap.10 Dr. Savoy discussed possible steps

with Mr. Kupp, including laying off staff. (Jt. Appx. 912, Savoy depo. p. 27) Dr. Savoy stated:

        So they talked about that [having a shared administrator with Dermatology] in May.
        So what they said was that it wasn't confirmed that it had to happen. They were
        working on the budget still, but when they went through the budget reconciliation
        process, our department was pretty far apart. The gap was large, and then we
        needed to figure out how we were going to close the gap.

        And on the list of solutions was that you could, you could lay off people that were
        in the department. So your front line staff. You could increase the physician
        production, which we were already struggling to meet, so that was going to be
        challenging. You could share your administrator space, like the administrator
        model itself. You could share your office space, which we had already agreed to
        do with dermatology at that point to lower rent.

        And so we still had a gap even after a lot of our layering. And so that was one of
        the last things that was left as an option.

(Jt. Appx. 912, Savoy depo. p. 27)

        On June 1, 2018, as part of a series of staff layoffs across the TUP (Jt. Appx. 1029-1041),

Plaintiff and Sharon Mattia, the Senior Administrator of the Emergency Medicine Department,

jointly signed a layoff letter directed to Tracy Barnes, their shared employee. (Jt. Appx. 1030)

Approximately one week after the layoff of Ms. Barnes and other TUP staff, Temple notified

Plaintiff that her position was likewise being eliminated and that her employment would end

effective June 29, 2018. (Jt. Appx. 1032)



10
        “Closing the gap” and “meeting the budget” referred to establishing a budget for the fiscal year
beginning July 1, 2018, that fulfilled the needs of the Department and which the Department could actually
afford.


                                                    9
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 17 of 37




       Mr. Kupp and Mr. Zimmaro delivered the layoff notice to Plaintiff in a meeting on June 7,

2018. Plaintiff testified that Mr. Kupp told her that the layoff was for “financial reasons.” (Jt.

Appx. 69, Wolf depo. p. 54) Mr. Zimmaro recalled Mr. Kupp saying that the layoff was due to

“budget restraints and operational efficiencies.” (Jt. Appx. 463, Zimmaro depo. p. 11-12)

Plaintiff’s recollection of the conversation was:

       Q.      What is your recollection of what they talked to you about?

       A.      My recollection is that they said I was being terminated for financial
               reasons.

       Q.      And did you have any reason to doubt that they had financial reasons?

       A.      In all the years I worked at Temple, they had financial reasons. One year
               didn't seem to be any different from the next.

(Jt. Appx. 69, Wolf depo p. 54) As an employee laid off for non-performance reasons, Plaintiff

received 10 weeks of severance pay. (Jt. Appx. 511, Zimmaro depo. p. 202)

       Plaintiff claims that the budget or financial reasons for her layoff were pretextual, and that

her layoff, as well as Temple’s failure to re-hire her in Fall 2018 and Fall 2019, resulted from age

discrimination and/or as a result of retaliation for her complaints regarding a 2017 incident of anti-

Semitism. (Jt. Appx. 10-12, Complaint ¶ 47, 65-67)

       C.      The reasons provided to Plaintiff for her layoff were real, and not a pretext for
               age discrimination.

       Mr. Kupp, Ms. Fino and Mr. Zimmaro all testified that the decision to lay off Plaintiff

related to budgetary or financial issues, and that Plaintiff’s age was never mentioned in any

discussion in connection with laying her off. (Jt. Appx. 139-140, 144-145, 155, Kupp depo. p. 226-

229, 248-249, 291; Jt. Appx. 463, Zimmaro depo. p. 11-12; Jt. Appx. 814, Fino depo. p. 213-214)

Neither is there any evidence that age played a part in any of the other staff layoffs at any time.



                                                    10
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 18 of 37




Mr. Kupp, Ms. Fino and Mr. Zimmaro all described the relevant criteria for Plaintiff’s layoff as

including that she was the least senior of the senior administrators of clinical departments in the

TUP, meaning that she was in the role of senior administrator for the shortest time among the

senior administrators of clinical departments, and that she had the smallest scope of responsibility

among the Senior Administrators in the TUP, meaning that Plaintiff had the smallest department

in terms number of faculty and expense base. (Jt. Appx. 144-145, Kupp depo. p. 248-250; Jt. Appx.

466, Zimmaro depo. p. 21-24; Jt. Appx. 814, Fino depo. p. 213-214)

        Plaintiff alleges that shortly before her termination, Temple promoted a “substantially

younger, less qualified” person into the position of senior administrator. (Jt. Appx. 10-11,

Complaint, ¶ 48) Plaintiff was referring to Erin Coleman, who was promoted to Senior

Administrator for the Orthopedics Department in May 2018. (Jt. Appx. 73, Wolf depo. p. 70)

Plaintiff is correct that Ms. Coleman was less senior than Plaintiff was, but Ms. Coleman was in a

special situation because the Clinical Chair for Orthopedics had recently determined that he wanted

all of the administrators in the Orthopedics department to have expertise in an area related to

Orthopedics, either as an athletic trainer or physical therapist. Ms. Coleman met that special

requirement. (Jt. Appx. 491, Zimmaro depo. p. 123-124; Jt. Appx. 832, Fino depo. p. 287-288)11

        According to Mr. Kupp, he also considered, in the context of Plaintiff’s layoff, that Plaintiff

was unable or unwilling to take on more responsibility. (Jt. Appx. 145, Kupp depo. p. 249) This

refers to the conversation between Ms. Fino and Plaintiff in February 2018 in which they discussed



11
         When Mr. Kupp, Mr. Zimmaro and Ms. Fino testified about the reference to Plaintiff being the
“least senior” of the senior administrators, they were not thinking about Ms. Coleman, who was in a special
situation because of the decision of the Clinical Chair of the Orthopedics department to require all
administrators in that department to either have advanced education or clinical experience as a Physical
Therapist or an Athletic Trainer. They each supplemented their testimony on that point in timely errata, and
if necessary they would explain such correction in cross-examination. (Jt. Appx. 459, Kupp errata; Jt. Appx.
757, Zimmaro errata; Jt. Appx. 903, Fino errata)


                                                    11
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 19 of 37




Plaintiff taking on the administrator role for Dermatology in addition to Family Medicine, which

Plaintiff declined to do. (Jt. Appx. 145, Kupp depo. p. 249-250)

        Among Mr. Kupp, Mr. Zimmaro and Ms. Fino, Mr. Kupp was the boss (Jt. Appx. 463,

Zimmaro depo. p. 10; Jt. Appx. 763, Fino depo. p. 12; Jt. Appx. 85, 92, Kupp depo. p. 9, 37), and

was the only one who could make layoff decisions, subject to approval of the Dean and University

Human Resources. (Jt. Appx. 142-143, Kupp depo. p. 238-244) Mr. Kupp testified that he

discussed the possibility of laying off Plaintiff with Mr. Zimmaro and Ms. Fino in Spring 2018 (Jt.

Appx. 93, Kupp depo. p. 41-43). Mr. Zimmaro confirmed that timeline, and said that before the

decision to lay off Plaintiff, there were multiple discussions about different scenarios that included

laying off Plaintiff, among other people, and he recalled that the Plaintiff’s potential layoff became

part of the discussion late in the fiscal year, between March and June 2018. (Jt. Appx. 465, 468,

Zimmaro depo. p. 18-19, 31-32). Mr. Kupp also said that he discussed the possible need to lay off

Plaintiff with Dr. Savoy in Spring 2018. (Jt. Appx. 146, Kupp depo. p. 254)

        Mr. Kupp ultimately made the decision to lay off plaintiff. (Jt. Appx. 146, Kupp depo. p.

254)12 Mr. Zimmaro says Mr. Kupp told him about the decision to lay off Plaintiff on June 1, 2018,

and Ms. Fino says she learned of the decision shortly before the layoff occurred. (Jt. Appx. 465,

Zimmaro depo. p. 18-19; Jt. Appx. 813, Fino depo. p. 209-212) Mr. Zimmaro followed his usual

protocol of preparing a termination letter and submitting it to University Human Resources for

approval, along with a comparative chart showing other Senior Administrators. (Jt. Appx. 470,


12
         Mr. Kupp said Mr. Zimmaro and Ms. Fino “recommended” and that he made the decision. Mr.
Zimmaro and Ms. Fino describe the process somewhat differently, with each seeing themselves as playing
a lesser role in Plaintiff’s layoff. They all agree that there were ongoing discussions regarding the budget
and potential steps to close budget gaps, and they all agree that Mr. Kupp made the actual decision to lay
off Plaintiff. This discrepancy about the precise roles of Mr. Zimmaro and Ms. Fino in the layoff does not
alter the fact that Mr. Kupp made the decision for the reasons he described.




                                                    12
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 20 of 37




475, Zimmaro depo. p. 37-39, 58-60) Mr. Zimmaro subsequently received approval from

University Human Resources to move ahead with the layoff. (Jt. Appx. 477, Zimmaro depo. p. 67)

Mr. Kupp testified that either he or Mr. Zimmaro informed the Dean, Dr. Kaiser, of the layoff, and

that Dr. Kaiser approved. (Jt. Appx. 143, Kupp depo. p. 243-244).13

        Regardless of the precise role of each person, there is no evidence that anyone other than

Mr. Kupp, Mr. Zimmaro, Ms. Fino and/or Dr. Savoy played any part in any discussions in Spring

2018 about how to address the Family Medicine Department’s budget gap or the possibility of

laying off Plaintiff. All decisionmakers testified that the decision was for budgetary reasons.

        No decisionmaker mentioned Plaintiff’s age in connection with the layoff decision.

Likewise, Dr. Kaiser testified that age never came up as a factor in any layoff decision when he

was Dean of the School of Medicine. (Jt. Appx. 939, Kaiser depo. p. 26)

        D.      Temple did not discriminate or retaliate against Plaintiff because of her
                complaints about Temple’s response to the 2017 “swastika incident.”

        On November 16, 2017, someone drew a swastika on the wall outside Plaintiff’s office at

the School of Medicine (the “swastika incident”). Temple University Police investigated but did

not determine who was responsible. (Jt. Appx. 969-984) A staff member called Lisa Fino who

immediately went to the scene and found Plaintiff “distraught.” (Jt. Appx. 828-829, Fino depo. p.

272-273) Ms. Fino sent Plaintiff home in an Uber (Id.), and notified Mr. Zimmaro, head of Human


13
         Dr. Kaiser, who left his position as Dean effective January 1, 2021, testified that he had no
recollection of discussing Plaintiff’s layoff, but said it could have occurred. (Jt. Appx. 935-936, 938-939,
Kaiser depo. p. 12-13, 24-25) He also said that Mr. Kupp did not need to submit such layoffs to the Dean
for approval. (Jt. Appx. 935, Kaiser depo. p. 12) Temple acknowledges the discrepancy between Dr.
Kaiser’s testimony that he did not need to approve layoffs within the TUP and Mr. Kupp and Mr. Zimmaro’s
testimony that they consistently presented layoffs to Dr. Kaiser for his approval. Unlike Mr. Kupp, who
oversaw the TUP with its roughly $300 million budget, and Mr. Zimmaro, who oversaw Human Resources
within the School of Medicine, Dr. Kaiser was the CEO of the entire Temple University Health System, a
$2 billion enterprise. The discrepancy is understandable and does not implicate anyone’s credibility, and
more importantly, is not germane to the issues in the case which are whether or not Temple discriminated
or retaliated against Plaintiff.


                                                    13
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 21 of 37




Resources for the School of Medicine, who in turn notified other relevant Temple offices,

including the “IDEAL” office (Institutional Diversity, Equity, Advocacy & Leadership). (Jt. Appx.

829, Fino depo. p. 276; Jt. Appx. 505-506, Zimmaro depo. p. 180-181; Jt. Appx. 979-982)

       On or about December 12, 2017, Tiffenia Archie, Ph.D., Temple’s Assistant Vice President

for Institutional Diversity, Equity, Advocacy & Leadership, and Eric Brunner, Ed.D., the Assistant

Vice President for HR Learning & Development, conducted a sensitivity-type session with the

employees who worked in the area where the swastika incident occurred so they could discuss

their feelings about it. (Jt. Appx. 1016-1025; Jt. Appx. 505-506, Zimmaro depo. p. 180-181)

       Plaintiff believed that Temple’s response to the swastika incident was inadequate. (Jt.

Appx. 7-10, Complaint, ¶ 23-41). In the days following the swastika incident, Plaintiff complained

to the Anti-Defamation League (“ADL”). (Jt. Appx. 7-10, Complaint, ¶ 23-41; Jt. Appx. 985-999)

On December 4, 2017, Plaintiff sent or delivered a letter to Dr. Larry Kaiser, the Dean of the

School of Medicine, complaining about the swastika incident and Temple’s actions (or inaction)

in response. (Jt. Appx. 1074) On January 15, 2018, Plaintiff complained by email to Temple’s

President, Richard Englert, including expressing her belief that Temple had pushed the incident

“under the rug” and was more interested in avoiding bad press than it was in protecting and

educating the community regarding hate crimes. (Jt. Appx. 1014-1015)

       Plaintiff contends that her “consistent complaining” to Dr. Kaiser and Dr. Englert “caused

some issue with my superiors.” (Jt. Appx. 70, Wolf depo, p. 61) Plaintiff acknowledged, however,

that no one at Temple expressed any anger toward her for her complaints to President Englert or

Dr. Kaiser (Jt. Appx. 71, Wolf depo, p. 64-65), and no evidence emerged in discovery showing or

even suggesting that anyone was upset or annoyed by Plaintiff’s complaints. Mr. Kupp recalled

that Dr. Kaiser – a Jewish person – was upset about the swastika incident itself, but he was not at




                                                14
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 22 of 37




all upset that Plaintiff complained to him in her December 4, 2017, letter. (Jt. Appx. 129, Kupp

depo. p. 188)

       Mr. Kupp and Mr. Zimmaro never heard that Dr. Kaiser or President Englert were upset,

angry or frustrated about Plaintiff’s complaints about Temple’s response to the swastika incident.

(Jt. Appx. 130, Kupp depo. p. 189-193; Jt. Appx. 508, Zimmaro depo. p. 192) Ms. Fino was not

even aware of the complaints. (Jt. Appx. 830, Fino depo. p. 277) When asked if anyone at Temple

was annoyed with Plaintiff for her complaints Mr. Zimmaro said, “Absolutely not. Actually just

the opposite. People were positive saying yeah, good, she can go ahead. It was not a negative.” (Jt.

Appx. 508, Zimmaro depo. p. 192)

       Mr. Kupp was not upset, annoyed or frustrated about Plaintiff’s complaints to Dr. Kaiser

or President Englert, and neither was Mr. Zimmaro. (Jt. Appx. 130, Kupp depo. p. 189, 192) Both

of them testified that Plaintiff’s complaints had no impact on, and no connection whatsoever with,

the decision approximately five months later to lay off plaintiff. (Jt. Appx. 522-523, Zimmaro

depo. p. 248-249; Jt. Appx. 155, Kupp depo. p. 291-292). Nor did Plaintiff’s complaints bear on

the fact that she was not interviewed or hired when she applied for positions at Temple following

her layoff. (Jt. Appx. 155, Kupp depo. p. 291-292)

       There is no evidence to contradict the testimony cited above, and no actual evidence

suggesting a motive on anyone’s part to retaliate against Plaintiff for her complaints.

       E.       Mr. Kupp’s questions about Plaintiff’s future plans, or retirement plans, do
                not support an inference of age discrimination.

       Plaintiff alleges that in the year before her termination, Mr. Kupp “asked her about her

retirement plans” and that he said he was asking in order “to plan for the future.” Plaintiff says that

she told Mr. Kupp that she had no plans to retire at that time. (Jt. Appx. 10, Complaint ¶45-46)




                                                  15
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 23 of 37




        Plaintiff questioned Mr. Kupp, Mr. Zimmaro and Ms. Fino at length about Mr. Kupp asking

such questions of Plaintiff, and each said that Mr. Kupp asked all of the Senior Administrators, not

just Plaintiff, about their future plans for purposes of succession planning. (Jt. Appx. 513, Zimmaro

depo. p. 210; Jt. Appx. 111, Kupp depo. p. 114; Jt. Appx. 817, Fino depo. p. 225) Mr. Kupp

testified that succession planning was good business practice, and that he made it a goal for all the

staff with whom he worked. (Jt. Appx. 111, Kupp depo., p. 113) Plaintiff subsequently requested

the Performance Review documents, referred to as “PDPs,” of other individuals Mr. Kupp

supervised, as well as those of other TUP Senior Administrators, and those documents confirm

that Mr. Kupp included the same “future goal” pertaining to succession planning in virtually all of

the PDPs.14

        When Mr. Kupp asked Plaintiff about her future plans during the 2017 PDP meeting,

Plaintiff said she had no plans to retire. Mr. Kupp viewed that as a positive thing because Plaintiff

was competent in her job and he hoped they could assign more responsibility to her in the future.

(Jt. Appx. 121, Kupp depo. p. 155)

        Several of the Senior Administrators of TUP departments, all in their 60s, said during the

course of their 2017 performance review meetings that they planned to retire within the next

several years, including Kathy Kostic, Denise Reynolds, Maryanne Dennison, Sharon Mattia,

Nancy Fox, and Diane Durr. (Jt. Appx. 114-115, 118, Kupp depo. p. 126-131, 142-143; Jt. Appx.

817-819, Fino depo. p. 228-233) The leadership group kept the prospective retirements in mind as

they considered how they would cover the departments in the future given the limited resources



14
        The relevant 2016-2017 PDPs are all in the record: Jt. Appx. 1116, D. Reynolds; Jt. Appx. 1121,
D. Durr; Jt. Appx. 1126, D. Lampo; Jt. Appx. 1127, F. Wisniewski; Jt. Appx. 1136 K. Kostic; Jt. Appx.
1141, M. Denys; Jt. Appx. 1146, M. Dennison; Jt. Appx. 1151, M. Hueber; Jt. Appx. 1157, N. Fox; Jt.
Appx. 1162, S. Mattia; Jt. Appx. 1166, B, Chilnick; Jt. Appx. 1174, F. Erdlen; Jt. Appx. 1178, G. Zimmaro;
Jt. Appx. 1184, T. Lubiski).


                                                   16
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 24 of 37




available. They envisioned that as one or more senior administrators retired, others – including

Plaintiff – would take on additional responsibilities as part of the shared administrator model. (Jt.

Appx. 122, Kupp depo. p. 159-160)

       There is no evidence to suggest that Mr. Kupp or anyone else pressured any of the Senior

Administrators who said they had plans to retire to actually follow through when they said they

would, and in fact several of the individuals stayed a year or more longer than they initially planned

before retiring by choice. (Jt. Appx. 118, Kupp depo. p. 142-143) Two of those individuals, Nancy

Fox and Denise Reynolds, were still working as senior administrators at the time of Ms. Fino’s

deposition. (Jt. Appx. 818-819, Fino depo. p. 232-233) There is no evidence that Mr. Kupp’s

inquiry to Plaintiff or other Senior Administrators regarding their future plans (or in Plaintiff’s

words, retirement plans), showed a motive to discriminate on the basis of age.

       Plaintiff also tried a different tack during Mr. Kupp’s deposition, repeatedly trying to get

him to say that if there was pressure to eliminate anyone, he would rather get rid of the older

employees and retain the younger ones because they could be expected to stay and provide value

for a longer time. Mr. Kupp denied such suggestion, despite the relentless questions, saying that

he always tries to make the best business decision based on an employee’s experience and

contribution. (Jt. Appx. 116, Kupp depo. p. 135-136)

       F.      The evidence is undisputed that Temple withdrew each of the job postings to
               which Plaintiff applied in Fall 2018 and Fall 2019 for reasons unrelated to
               Plaintiff.

       Following her layoff, Plaintiff applied in Fall 2018 and Fall 2019 for posted positions at

Temple for which she qualified. (Jt. Appx. 10-12, Complaint, ¶ 48-64) Plaintiff alleges that she

was neither interviewed nor hired for any of the positions, and she attributes the failure to interview

or hire her to the same discriminatory or retaliatory motives. (Jt. Appx. 12, Complaint, ¶ 65-66)




                                                  17
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 25 of 37




       Temple provided information in discovery to the effect that it withdrew, for reasons

unrelated to plaintiff, each of the job postings for which plaintiff applied in late 2018 and 2019,

identified as Requisition Nos. 18004030, 18004539 and 18004025, without interviewing or hiring

any external candidates. (Jt. Appx. 493-501, Zimmaro depo. p. 132-165; Jt. Appx. 564-567,

Plaintiff’s Ex. 11) TUP Senior leadership moved employees around internally, and asked senior

administrators to pick up additional responsibility, because of the financial situation. (Jt. Appx.

804, Fino depo. p. 173) Temple reassigned a then-current administrator within the TUP, Colleen

McAllister, to take on the responsibilities for the Psychiatry department and she remained in that

position (Jt. Appx. 486-487, Zimmaro depo. p. 103-109), and in September 2020, it reassigned a

then-current administrator within the TUP, Amala Davis, to become the Senior Administrator for

the Family Medicine department and the Dermatology department, after Lisa Fino had covered

those two departments since June 2018, in addition to her own job as COO. (Jt. Appx. 769, 810,

Fino depo. p. 33, 199) Such reassignment was “net neutral.” (Jt. Appx. 836, Fino depo. p. 303)

       There is no evidence that Plaintiff’s age, or age discrimination, or retaliation for having

complained about the swastika incident, played any part in Temple’s failure to interview or hire

her for any of the job postings for which she applied in late 2018 or 2019.

III.   Argument

       A.      The Summary Judgment Standard

       In Ngai v. Urban Outfitters, 2021 WL 1175155 (E.D.Pa. 2021), this Court addressed a

motion for summary judgment in the context of a plaintiff who sued his former employer for,

among other things, national origin discrimination, age discrimination and retaliation. The Court’s

thorough description of the applicable summary judgment standard applies equally to this case:




                                                18
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 26 of 37




       “[S]ummary judgment is appropriate where there is no genuine issue as to any
       material fact and the moving party is entitled to a judgment as a matter of law.”
       Alabama v. North Carolina, 560 U.S. 330, 344 (2010) (internal quotations marks
       and citations omitted). “[T]he mere existence of some alleged factual dispute
       between the parties will not defeat an otherwise properly supported motion for
       summary judgment; the requirement is that there be no genuine issue of material
       fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). A factual
       dispute is material, and therefore must be resolved by the jury, only where it “might
       affect the outcome of the suit under the governing law....” Id. at 248. “A genuine
       issue is present when a reasonable trier of fact, viewing all of the record evidence,
       could rationally find in favor of the non-moving party in light of his burden of
       proof.” Doe v. Abington Friends Sch., 480 F.3d 252, 256 (3d Cir. 2007).

       In ruling on a summary judgment motion, a court must “view the facts and draw
       reasonable inferences in the light most favorable to the party opposing the summary
       judgment motion.” Scott v. Harris, 550 U.S. 372, 378 (2007) (internal quotations
       marks and alterations omitted). However, “unsupported assertions, conclusory
       allegations, or mere suspicions” are insufficient to create an issue of fact and defeat
       summary judgment. Schaar v. Lehigh Valley Health Servs., Inc., 732 F. Supp.2d
       490, 493 (E.D. Pa. 2010) (citing Williams v. Borough of W. Chester, 891 F.2d 458,
       460 (3d Cir. 1989)). A plaintiff cannot avert summary judgment with speculation
       or by resting on the allegations in his pleadings, but rather must present competent
       evidence from which a jury could reasonably find in his favor. Anderson, 477 U.S.
       at 248. Finally, “[c]redibility determinations, the weighing of the evidence, and the
       drawing of legitimate inferences from the facts are jury functions” and are not to
       be resolved by the court at summary judgment. Id. at 255.

Ngai, 2021 WL 1175155, *7.

       The Court’s description in Ngai of each party’s burden on motion for summary judgment

also applies. Plaintiff cannot meet her burden to show pretext in this case:

       1. Discrimination Claims
       Title VII prohibits employers from discriminating against employees on the basis
       of, inter alia, national origin. 42 U.S.C. § 2000e(a)(1). Similarly, ADEA provides,
       in relevant part, that “[i]t shall be unlawful for an employer...to discharge any
       individual or otherwise discriminate against any individual with respect to his
       compensation, terms, conditions, or privileges of employment, because of such
       individual’s age.” 29 U.S.C. § 623(a)(1). Because Plaintiff must prove
       discrimination using circumstantial evidence, the burden-shifting framework
       established by McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) applies to
       his discrimination claims.6 …




                                                 19
 Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 27 of 37




Under the first step of this framework, the employee bears the initial burden of
establishing a prima facie case of discrimination by a preponderance of the
evidence. See Burton v. Teleflex Inc., 707 F.3d 417, 426 (3d Cir. 2013). Second, if
the employee makes out a prima facie case, “the burden of production [then] shifts
to the defendant to offer a legitimate non-discriminatory [reason] for the adverse
employment action.” Id. (internal quotation marks and citation omitted). “This
burden is ‘relatively light,’ and the employer need only ‘introduc[e] evidence
which, taken as true, would permit the conclusion that there was a
nondiscriminatory reason for the unfavorable employment decision.’ ” Tomasso v.
Boeing Co., 445 F.3d 702, 706 (3d Cir. 2006) (alteration in original) (quoting
Fuentes v. Perskie, 32 F.3d 759, 773 (3d Cir. 1994)). In the third and final step of
the McDonnell Douglas analysis, if the employer offers legitimate, non-
discriminatory reasons for its actions, “the burden of production [shifts] back to the
plaintiff to provide evidence from which a factfinder could reasonably infer that the
employer’s proffered justification is merely a pretext for discrimination.” Burton,
707 F.3d at 426.

Because the pretext analysis is where the rubber meets the road in this case, it
requires further elaboration. Plaintiff must make a showing of pretext to defeat an
employer’s motion for summary judgment. Id. at 426-27. To do so, “the plaintiff
must point to some evidence, direct or circumstantial, from which a factfinder could
reasonably either (1) disbelieve the employer’s articulated legitimate reasons; or
(2) believe that an invidious discriminatory reason was more likely than not a
motivating or determinative cause of the employer’s action.” Fuentes, 32 F.3d at
764. In other words, a plaintiff “may defeat a motion for summary judgment by
either [1] discrediting the proffered reasons, either circumstantially or directly, or
[2] adducing evidence, whether circumstantial or direct, that discrimination was
more likely than not a motivating or determinative cause of the adverse
employment action.” Id. In seeking to discredit the employer’s proffered reasons,
“the plaintiff cannot simply show that the employer’s decision was wrong or
mistaken,” but rather must show that the reason was a pretext for invidious
discrimination. Id. at 765. This burden is carried by “demonstrat[ing] such
weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in
the employer’s proffered legitimate reasons for its actions that a reasonable
factfinder could rationally find them unworthy of credence.” Id. (internal quotation
marks and citation omitted).
                                   *       *       *
2. Retaliation Claims
… Title VII prohibits an employer from retaliating against an employee “because
he opposed any practice made unlawful by this section...or because he has made a
charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under this subchapter.” 42 U.S.C. 2000e-3(a); see also 29
U.S.C. § 623(d) (materially identical provision in ADEA). The employee bears the
initial burden of stating a prima facie case of retaliation by establishing that: (1) he
engaged in a protected activity; (2) the employer took a materially adverse action
against him; and, (3) there was a causal connection between the protected activity



                                          20
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 28 of 37




        and the employer’s action. Moore v. City of Philadelphia, 461 F.3d 331, 340-41 (3d
        Cir. 2006). If the plaintiff makes out a prima facie case, then the McDonnell
        Douglas burden-shifting framework kicks in. Id. at 342.

2021 WL 1175155, *8-9, 12 (footnote omitted).

        With respect to the swastika incident, 15 Plaintiff cannot make out a prima facie case

because there is no evidence whatsoever of a causal connection between such complaints and her

layoff approximately five months later. Alternatively, if the Court finds that Plaintiff established a

prima facie case, Plaintiff cannot carry her burden of showing a causal connection by

“demonstrat[ing]      such    weaknesses,      implausibilities,    inconsistencies,     incoherencies,     or

contradictions in the employer’s proffered legitimate reasons for its actions that a reasonable

factfinder could rationally find” such a causal connection.

        With regard to Plaintiff’s age discrimination claim, Plaintiff likewise cannot carry her

burden on summary judgment of pointing to evidence, direct or circumstantial, from which a

factfinder could reasonably either (1) disbelieve Temple’s articulated legitimate reasons; or (2)

believe that an invidious discriminatory reason was more likely than not a motivating or

determinative cause of Temple’s action.




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        It is not clear from the Complaint whether Plaintiff is alleging religious-based discrimination in
addition to her claim of retaliation in connection with the swastika incident. When asked about the issue at
her deposition, Plaintiff focused on her complaints about what she viewed as Temple’s inadequate response,
which suggests that her claim is only for retaliation: “I believe the termination was related to my age because
of the office administrators and because I continually complained about the fact that they had not done
anything about the swastika on my wall and anything to do with the university and the medical school.” (Jt.
Appx. 71, Wolf depo. p. 63-64)



                                                      21
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 29 of 37




       B.      The Court should grant summary judgment on Plaintiff’s retaliation claim
               because there is no evidence in the record from which a reasonable jury could
               find a causal connection between her complaints about Temple’s response to
               the swastika incident and her layoff approximately five months later.

       There is not even a hint of evidence to support the claim of a causal connection between

Plaintiff’s complaints to the Dean of the Medical School, Dr. Larry Kaiser, or the President of

Temple University, Dr. Richard Englert, about Temple’s response to the swastika incident and

Plaintiff’s layoff five months later, which was for budgetary reasons.

       Plaintiff complained about Temple’s response to the anti-Semitic incident and Temple laid

Plaintiff off approximately five months later. There is zero evidence of any causal connection,

however. Ngai describes the standard for a causal connection for a retaliation claim:

       The Third Circuit has taken a flexible approach to causation, explaining that “a
       plaintiff may rely upon a broad array of evidence” to establish a causal link between
       the protected activity and the adverse employment action. Farrell v. Planters
       Lifesavers Co., 206 F.3d 271, 283-84 (3d Cir. 2000). Indeed, the Court has advised
       against taking “too restrictive a view of the type of evidence that can be considered
       probative of the causal link.” Id. at 281. “The element of causation, which
       necessarily involves an inquiry into the motives of an employer, is highly context-
       specific.” Kachmar v. SunGard Data Sys., Inc., 109 F.3d 173, 178 (3d Cir. 1997).
       The ultimate question is whether plaintiff’s “proffered evidence, looked at as
       a whole, may suffice to raise the inference” of causation. Id. at 177. As
       guidance, the plaintiff may point to an unusually suggestive temporal
       proximity between the complaint and the adverse employment action, a
       pattern of antagonism after a complaint, an employer’s inconsistent
       explanation for taking an adverse employment action, or “other evidence
       gleaned from the record as a whole from which causation can be inferred.”
       Farrell, 206 F.3d at 281-82; see also Carvalho-Grevious, 851 F.3d at 260.

2021 WL 1175155 at *13, emphasis added. This Court in Ngai found that the plaintiff’s evidence

was sufficient, at the summary judgment stage, for a reasonable juror to infer a causal connection

between the plaintiff’s complaints about having his workload and pay reduced, and his termination

thereafter. Id. at *14. The Court found that while the temporal proximity alone may not have been

sufficient, when seen in light of the documented pattern of antagonism between Mr. Ngai and his




                                                22
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 30 of 37




superiors, the evidence was sufficient to withstand summary judgment on the question of

retaliation. Specifically, the Court cited the fact that in response to plaintiff’s complaints about

lack of work and being shut out of meetings, his superiors responded “by suggesting that Plaintiff

was too old for this job, would never become a brand director, and should just retire.” Id., *14.

        In this case, unlike in Ngai, there is no evidence of a pattern of antagonism between

Plaintiff and her superiors. In fact, the opposite is true.

        Plaintiff admitted that no one at Temple expressed anger or disapproval to her about her

complaints. (Jt. Appx. 71, Wolf depo. p. 64-65) Mr. Kupp and Mr. Zimmaro testified that not only

were they themselves not upset, they also never heard that the Dean, Dr. Kaiser, or the President,

Dr. Englert, were upset about the complaints. Plaintiff tried repeatedly to elicit a response from

Mr. Zimmaro to the effect that Plaintiff’s complaints “reflected poorly” on Temple in some

undefined way, but Mr. Zimmaro rejected the suggestion. (Jt. Appx. 507-508, 521-522, Zimmaro

depo. p. 187-191, 243-247)

        Moreover, it is uncontradicted that in the period between her complaints in late 2017/early

2018 and her termination the following June, TUP leadership offered Plaintiff more responsibility

within TUP by becoming the administrator for the Dermatology Department in addition to Family

Medicine, which plaintiff declined to do.16 Regardless whether a factfinder would credit Ms.

Fino’s version of the conversation, in which she actually offered the position to Plaintiff, or

Plaintiff’s version, in which the discussion was more preliminary in nature, the attempt to give

Plaintiff more responsibility within TUP belies the idea that TUP leadership were upset about her

complaints and therefore were motivated to retaliate against her.




16
       As discussed above, in Ms. Fino’s view she actually offered Plaintiff the opportunity to become
the administrator of Dermatology in addition to Family Medicine.


                                                   23
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 31 of 37




        In short, there is neither direct evidence of retaliatory motivation (like the comments in

Ngai suggesting the plaintiff was too old for his job and should retire), nor any circumstantial

evidence, such as unusually suggestive timing or a pattern of antagonism, that could lead a

reasonable jury to infer retaliation on Temple’s part. In the absence of any evidence of a causal

connection, Plaintiff fails to meet her burden of showing a prima facie case of retaliation.17

        For the foregoing reasons, the Court should grant summary judgment on Plaintiff’s

discrimination and/or retaliation claim related to the swastika incident.

        C.      The Court should grant summary judgment on Plaintiff’s age discrimination
                claim because Plaintiff cannot point to evidence that would lead a jury to
                disbelieve Temple’s stated reasons for Plaintiff’s layoff, or find that
                discrimination was more likely than not a determinative cause of the layoff.

        As the Court outlined in Ngai, a plaintiff may defeat an employer’s motion for summary

judgment on a claim of discrimination either by discrediting the employer’s proffered reasons with

direct or circumstantial evidence, or by adducing direct or circumstantial evidence that

discrimination was more likely than not the motivating or determinative cause of the challenged

action.18 2021 WL 1175155, *9. Quoting Fuentes v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994), the

Ngai Court said the following:

        In seeking to discredit the employer’s proffered reasons, “the plaintiff cannot
        simply show that the employer’s decision was wrong or mistaken,” but rather must
        show that the reason was a pretext for invidious discrimination. Id. at 765. This
        burden is carried by “demonstrat[ing] such weaknesses, implausibilities,

17
          Temple anticipates that the Plaintiff may argue that the evidence of what Temple did or did not do
in the immediate aftermath of the swastika incident (rather than in response to her complaints) is sufficient
to carry her burden of showing a prima facie case of discrimination and/or retaliation. Temple disagrees,
but if the Court finds in Plaintiff’s favor on the question of her burden of establishing a prima facie case,
she still must adduce sufficient evidence to discredit Temple’s stated reasons for laying her off such that a
reasonable juror could find that retaliatory animus was the likely reason. Ngai at *14. There is no evidence
from which a reasonable juror could find discriminatory or retaliatory animus.
18
          For purposes of this section, Temple will assume that Plaintiff can make out a prima facie case of
age discrimination. It is unclear whether she is asserting a claim for retaliation under the ADEA. If she is
asserting such a claim, it fails at the prima facie stage because she never asserted any predicate complaints
related to age.


                                                     24
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 32 of 37




       inconsistencies, incoherencies, or contradictions in the employer’s proffered
       legitimate reasons for its actions that a reasonable factfinder could rationally find
       them unworthy of credence.” Id. (internal quotation marks and citation omitted).

2021 WL 1175155, *9. The Ngai court noted that under Kautz v. Met-Pro Corp., 412 F.3d 463,

467 (3d Cir. 2005), to show pretext the employee must “present evidence contradicting the core

facts put forward by the employer as a legitimate reason for its decision.” See also, Fichter v. AMG

Resources Corp., 528 Fed. Appx. 225, 228-9 (3d Cir. 2013) (employee may not simply advance

an alternative theory for the employer’s challenged action, but rather must, under Kautz v. Met-

Pro, rebut the employer’s proffered legitimate reasons for its action.)

       Here, Plaintiff has no direct or circumstantial evidence that discredits the legitimate

business reasons Temple proffered for her layoff. Temple produced substantial evidence of the

chronic financial shortfalls within the TUP, and the multi-layered efforts, year after year, to address

them, including centralization, consolidation, outsourcing and layoffs. Plaintiff herself participated

in the layoffs of others in 2016, 2017 and 2018, and she admitted that she was told the layoffs were

for budgetary reasons. Plaintiff did not engage an expert to reassess or challenge Mr. Kupp’s

testimony concerning the existence of the shortfalls in the budget, the need for layoffs, or other

budget-related measures. Thus, Plaintiff cannot show that Temple’s stated reasons for its action

were pretextual.

       Nor is there any “direct or circumstantial evidence that discrimination was more likely than

not the motivating or determinative cause of the challenged action.” Plaintiff focused on Mr.

Kupp’s question about Plaintiff’s plans for retirement (or in Mr. Kupp’s version, her future plans),

to suggest that the question showed a motive to discriminate on the basis of age. However, Mr.

Kupp did not target Plaintiff for that question, but rather talked about future plans with all of

Plaintiff’s cohort of senior administrators for purposes of succession planning. Many of those




                                                  25
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 33 of 37




individuals – seven of whom were in their 60s like Plaintiff – talked about their plans to retire in

the next several years, and the uncontradicted evidence shows that no one pressured them to follow

through on those plans and several of those individuals actually stayed longer than they planned.

Two of those individuals, Nancy Fox and Denise Reynolds, were still working as senior

administrators at the time of Ms. Fino’s deposition. (Jt. Appx. 818-819, Fino depo. p. 232-233)

        Further, Mr. Kupp was pleased when Plaintiff told him she had no plans to retire anytime

soon, because he thought she would be able to take on more responsibility in the future. Little did

he know that approximately eight months later, in February 2018, when the senior leadership group

offered Plaintiff the opportunity to take on more responsibility, she would balk.

        Temple anticipates that Plaintiff will likely point to the few inconsistencies that exist in the

record and assert that they make Temple’s proffered reasons unworthy of credence. The

inconsistencies that exist in the record, however, are not material to the claim of retaliation or age

discrimination.

        For example, there are minor inconsistencies in the testimony of Mr. Kupp, Mr. Zimmaro

and Ms. Fino regarding the precise role each played leading up to the decision to lay off Plaintiff.

They agree, however, on the key facts related to Plaintiff’s layoff, including that Mr. Kupp was

the boss among them, that he made the decision on or about June 1, 2018, to lay off Plaintiff for

budgetary reasons, and that neither Plaintiff’s complaints following the swastika incident nor

Plaintiff’s age played any part in the layoff decision or the failure to re-hire her thereafter. None

of them said anything to support the notion that the budget-related reasons that Temple articulated

for Plaintiff’s layoff were not the actual reasons, and therefore the minor discrepancies among

them are not material to the claims of retaliation or age discrimination and do not support a finding

of pretext.




                                                  26
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 34 of 37




        Similarly, some areas of disagreement between Mr. Kupp and Dr. Kaiser emerged in their

depositions, but not concerning anything that bears on the issues of retaliation or age

discrimination.19 Accordingly, the minor inconsistencies in the record do not provide any basis

for disbelieving the legitimate budgetary reasons for Plaintiff’s layoff that Temple articulated.

        The issue involving Erin Coleman likewise does not detract from the credence of Temple’s

articulated reasons for Plaintiff’s layoff. At points during this litigation, Temple referred to the fact

that among the considerations leading to Plaintiff’s layoff was the fact that Plaintiff was the least

senior of the senior administrators of departments within the TUP, and that she had the smallest

scope of responsibility, that is, the smallest department in terms of number of faculty and expense

base. That statement is true, with the exception of Erin Coleman, who was less senior than Plaintiff.

        As both Mr. Zimmaro and Ms. Fino explained during their depositions, Ms. Coleman was

promoted to Senior Administrator of the Orthopedics Department in May 2018 as a result of a new

requirement that the Chair of Orthopedics, Dr. Eric Kropf, imposed for his department.

Specifically, he wanted all of the administrators working in Orthopedics to have clinical expertise

in an area of Orthopedics, either as an athletic trainer or physical therapist. Ms. Coleman, already

a section administrator in Orthopedics, had expertise as an athletic trainer, and was promoted to

Senior Administrator. Other staff lost their positions.

        During their depositions, the three decisionmakers referred to Plaintiff as the least senior

of the senior administrators, not thinking about Ms. Coleman because the special requirement of

being an athletic trainer or physical therapist created a special situation that set her apart. Mr.



19
        Mr. Kupp and Dr. Kaiser testified differently about the reasons for Dr. Kaiser’s departure from
Temple at the end of 2020, and also regarding whether Mr. Kupp had to get the Dean’s approval for layoffs.
On the central issues pertaining to retaliation for complaints about the swastika incident or age
discrimination, however, Mr. Kupp and Dr. Kaiser agree 100 percent and their testimony supports Temple’s
proffered reasons for the layoff decision.


                                                   27
         Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 35 of 37




Kupp, Mr. Zimmaro and Ms. Fino each corrected their testimony in timely errata. If they were to

be cross-examined about the change in their testimony, they would testify exactly as set forth in

the errata. Nothing about the testimony or errata casts doubt on the legitimate reasons that Temple

articulated regarding Plaintiff’s layoff.

       D.      There is no evidence that Temple did not re-hire Plaintiff for discriminatory
               reasons.

       Temple withdrew each of the job postings for which Plaintiff applied in Fall 2018 and Fall

2019 without interviewing or hiring any external candidates. Mr. Zimmaro testified extensively on

the subject, and the documents that Temple supplied in discovery confirm his testimony. (Jt. Appx.

493-501, Zimmaro depo. p. 132-165; Jt. Appx. 564-567, Plaintiff’s Ex. 11)

       Ms. Fino likewise described the practice of moving existing employees around within TUP

to achieve the necessary coverage because of the financial situation. (Jt. Appx. 804, Fino depo. p.

173) Assigning an existing administrator (Colleen McAllister) to take on responsibility for the

Psychiatry department in addition to Pathology, and promoting an internal candidate (Amala

Davis) to cover Family Medicine and Dermatology after Ms Fino had covered those positions for

two years in addition to her own job, were part of that pattern. Simply put, Plaintiff has no evidence

to support her claim that discrimination or retaliation led to her non-rehire in 2018 and 2019.

IV.    Conclusion

       At the close of an aggressive discovery period with multiple depositions of key personnel

and thousands of pages of documents produced, Plaintiff has no evidence whatsoever to cast doubt

on the legitimate budgetary reasons for Plaintiff’s layoff and non-rehire that Temple articulated,

nor any basis to infer that discrimination was the real motivation for Temple’s actions.

Accordingly, Temple requests that this Court grant summary judgment in its favor.




                                                 28
       Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 36 of 37




                                   RESPECTFULLY SUBMITTED,


Dated: November 19, 2021           /s/ Michael E. Sacks
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                                     29
        Case 2:21-cv-00866-WB Document 16 Filed 11/19/21 Page 37 of 37




                               CERTIFICATE OF SERVICE

       I certify that the foregoing Motion for Summary Judgment, Statement of Undisputed Facts,

and Memorandum of Law have been filed electronically and are available for viewing and

downloading on the Court’s CM/ECF system. I further certify that a copy of the Motion, Statement

of Undisputed Facts and Memorandum of Law are being served electronically upon:

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